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 6

 7                                  UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                      SAN FRANCISCO DIVISION
10

11 RONALD J. MCINTOSH,                                Case No. C 09-00750 CRB

12                    Petitioner,                     MOTION AND [PROPOSED] ORDER FOR
                                                      AUTHORIZATION TO USE EVIDENCE
13             v.                                     PRODUCED IN STATE COURT
14                                                    PROCEEDINGS
   ERIC H. HOLDER and ATTORNEY
15 GENERAL OF CALIFORNIA,

16                    Respondents.
17

18         McIntosh moves for Court authorization to use any evidence produced by the State and/or
19 federal government, including information described in and documents attached to the declarations of

20 David W. Shapiro in support of McIntosh’s FRCP 60 MOTION AND RENEWED PETITION FOR

21 A WRIT OF HABEAS CORPUS, Doc. 205, namely Docs. 205, 205-1, 213-2, 225-1, 229-1, and 230-

22 2.

23

24 Dated: April 17, 2017
                                                       BOERSCH SHAPIRO LLP
25                                                     /s/ David W. Shapiro
                                                       David W. Shapiro
26
                                                       Attorney for Ronald J. McIntosh
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28
                                                  1              MOTION FOR AUTHORIZATION
                                                                           TO USE EVIDENCE
                                                                      Case No.: C 09-00750 CRB
             Case 3:09-cv-00750-CRB Document 244 Filed 04/17/17 Page 2 of 2



 1                                          [PROPOSED] ORDER
 2          Upon the application of Ronald J. McIntosh, and good cause appearing, the Court orders that
 3 McIntosh may use any documents filed in connection with his FRCP 60 MOTION AND RENEWED

 4 PETITION FOR A WRIT OF HABEAS CORPUS, Doc. 205, and associated declarations in support

 5 of his anticipated state court petitions or in response to any opposition filed by the State in state court

 6 proceedings.

 7          IT IS SO ORDERED.
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 9 Dated: April __, 2017
                                                 CHARLES R. BREYER
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                                                 United States District Judge
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                                                     2                MOTION FOR AUTHORIZATION
                                                                                TO USE EVIDENCE
                                                                           Case No.: C 09-00750 CRB
